Case 2:24-cr-00091-ODW        Document 100 Filed 08/05/24        Page 1 of 2 Page ID
                                      #:1326



                     UNITED STATES COURT OF APPEALS                        FILED
                             FOR THE NINTH CIRCUIT                          AUG 5 2024
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                        No. 24-4040
                                                 D.C. No.
             Plaintiff - Appellee,               2:24-cr-00091-ODW-1
                                                 Central District of California,
 v.                                              Los Angeles
ALEXANDER SMIRNOV,                               ORDER

             Defendant - Appellant.

Before:      SCHROEDER, M. SMITH, and HURWITZ, Circuit Judges.

      This is an appeal from the district court’s order denying appellant’s motion

to reopen his detention hearing and impose conditions of release. We have

jurisdiction pursuant to 18 U.S.C. § 3145(c) and 28 U.S.C. § 1291.

      We review the district court’s factual findings concerning risk of flight under

a “deferential, clearly erroneous standard.” United States v. Townsend, 897 F.2d

989, 994 (9th Cir. 1990). The conclusions based on such factual findings,

however, present a mixed question of fact and law. Id. Thus, “the question of

whether the district court’s factual determinations justify the pretrial detention

order is reviewed de novo.” United States v. Hir, 517 F.3d 1081, 1086-87 (9th Cir.

2008) (citations omitted).

      Appellant’s sole argument is that that the district court clearly erred by

finding that he had not agreed to post a corporate surety bond as a condition of
Case 2:24-cr-00091-ODW       Document 100 Filed 08/05/24       Page 2 of 2 Page ID
                                     #:1327



release. This argument misconstrues the record, which shows that the district court

was simply explaining why it found “no comfort” in appellant’s proposal to hire a

private security company and why its concerns about the risk of flight remained.

Appellant has not shown any error in the court’s conclusion that appellant’s

proposal did not warrant revisiting or changing the court’s decision that appellant

poses a risk of flight and that no condition or combination of conditions will

reasonably assure his appearance. See 18 U.S.C. § 3142(e), (f)(2).

      AFFIRMED.




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